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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA



JORDELLA ROBINSON, individually and as a
representative of a class of similarly situated borrowers,
                                   Plaintiff,                  Civil Case No.:

       vs.                                                     CLASS ACTION
                                                               COMPLAINT AND
Standard Mortgage Corporation and Standard Mortgage            DEMAND FOR JURY
Insurance Agency, Inc.,                                        TRIAL

                                  Defendants.



       Plaintiff Jordella Robinson, on behalf of herself and as a representative of a class of

similarly situated borrowers, brings the claims set forth below against Standard Mortgage

Corporation (“Standard Mortgage”) and Standard Mortgage Insurance Agency, Inc. (“SM

Insurance”) (collectively, “Defendants”).

                                  NATURE OF THE ACTION

       1.      Plaintiff and members of the Class (as defined below) have or had loans or lines

of credit owned, originated, and/or serviced by Standard Mortgage secured by their property and

were charged for “force-placed” insurance pursuant to exclusive agreements between Standard

Mortgage and SM Insurance that returned significant financial benefits to Standard Mortgage

unrelated to any contractual or other bona fide interest in protecting Standard Mortgage’s interest

in the loan or the property, resulting in unauthorized and unfairly inflated costs to borrowers in

violation of the law and the underlying mortgages.

       2.      Throughout the proposed Class Period (defined below) Standard Mortgage would

replace borrowers lapsed insurance policies with “force-placed” or “lender-placed” insurance
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and would “force-place” duplicative and unnecessary insurance on borrowers. Such policies

offer less coverage, are substantially more expensive, and provide lucrative financial benefits to

Standard Mortgage and SM Insurance.

       3.      Standard Mortgage exploited its contractual authority to force-place insurance in

order to reap additional profits in the form of unjustified commissions and other forms of

consideration at the expense of borrowers whose insurance was force-placed. Sometimes the

consideration was disguised as reimbursements for certain costs or was a percentage of the force-

placed premiums, subsidized or discounted administrative services, or lucrative captive

reinsurance deals. These improper benefits were not legitimately related to the cost of the force-

placed insurance or the purposes for which force-placed insurance is purchased – to protect the

lender’s interest in the mortgaged property.

       4.      Standard Mortgage charges borrowers for the “cost” of procuring force-placed

insurance but a portion of this purported “cost” is returned, transferred or paid back to Standard

Mortgage and/or its affiliated entities.

       5.      SM Insurance also benefitted financially from the force placed insurance practices

at issue in this Complaint.

       6.      Among other things, Plaintiff and members of the Class seek to recover treble

damages under RICO, or, in the alternative, damages equal to the amount of the improper and

inequitable financial benefit received by Defendants and/or their affiliates as a result of this anti-

consumer and predatory practice.

       7.      The premiums paid by and/or assessed to Plaintiff and members of the Class also

included amounts not attributable to the cost of providing force-placed insurance but, instead,

constituted expenses associated with servicing the loans. The percentage of borrowers who were




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charged for force-placed insurance were shouldering the costs of monitoring Standard

Mortgage’s entire loan portfolio – effectively providing kickbacks to Standard Mortgage in the

form of below-market, outsourced insurance services.

       8.      As one journalist observed of the industry:

               In the pantheon of modern-day mortgage abuses, force-placed
               insurance hasn’t attracted much attention. But it generates
               hundreds of millions of dollars a year in fees and commissions for
               insurance companies, banks and other financial institutions.

               Policies are sometimes backdated to cover periods that have
               already passed. In essence, critics say, high-priced insurance
               policies cover a time when no events happened. And often, the
               mortgage company and the force-placed-insurance company are
               affiliated, with the mortgage company receiving a “service fee” in
               return for the business. But homeowners don’t know that.

See Dave Lieber, Everyone Profits Off Force-Placed Insurance, Except Homeowner, Star

Telegram (June 12, 2012), available at https://watchdognation.com/force-placed-insurance-

mortgage.

       9.      Recently, regulatory authorities around the country have started to investigate the

forced-placed insurance practices of lenders and servicers like Standard Mortgage and insurance

companies like SM Insurance. For example, the New York State Department of Financial

Services (“NYSDFS”) convened hearings in 2012 to investigate the force-placed insurance

industry. On the opening day of these hearings, NYSDFS Superintendent Benjamin Lawsky

(“Superintendent Lawsky”) noted that his department’s initial inquiry uncovered “serious

concerns and red flags” which included: (a) exponentially higher premiums for force-placed

insurance than regular insurance; (b) extraordinarily low loss ratios; (c) harm to distressed

borrowers; (d) lack of competition in the market; (e) increased reliance on force-placed insurance

as a major profit center for both banks and insurers; and (f) “tight relationships between banks,




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their subsidiaries and insurers.” See generally Opening Statement of Benjamin M. Lawsky,

Superintendent of Financial Services (May 17, 2012), attached hereto as Exhibit 1.

        10.      As Superintendent Lawsky summarized:

                 In some cases this takes the form of large commissions being paid
                 by insurers to the banks for what appears to be very little work. In
                 other cases, banks have set up reinsurance subsidiaries who take
                 over the risk from the insurance companies. Thus, the banks pay
                 high premiums for coverage that is highly profitable and then those
                 big profits revert right back to the banks through reinsurance
                 agreements.

                                                   ****

                 In sum, when you combine this close and intricate web of
                 relationships between banks and insurance companies on the one
                 hand, with high premiums, low loss ratios and lack of competition
                 on the other hand, it raises serious issues and questions that we
                 need to explore in these hearings.

Id. at page 3.

        11.      These 2012 hearings investigated the FPI practices of banks, mortgage loan

servicers, and insurance providers. See Under Interrogation, Am. Banker (Jan. 27, 2012, 5:03pm

ET), http://www.americanbanker.com/news/force-placed-insurance-subpoenas-1046159-1.html.

        12.      Consumer advocates at these hearings stated that force-placed insurance usually

costs the borrower more than the price of regular insurance, and Mr. Lawsky noted that insurers

paid an exceptionally low loss ratio of around less than 25 cents in claims for every dollar of

premium they received. See Mary Williams Walsh, New York Investigates Insurer Payments to

Banks, N.Y. Times (May 21, 2012), http://www.nytimes.com/2012/05/22/business/new-york-

investigates-home-insurer-payments-to-banks.html;

        13.      In response to these hearings, New York Governor Andrew M. Cuomo stated that

his administration would continue to investigate the “lack of competition, high prices, and low




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loss ratios and take necessary steps to clean up this market.” Id.

       14.     In addition, the National Association of Insurance Commissioners (“NAIC”) – the

lead national insurance regulatory organization created and governed by the chief insurance

regulators from all 50 states that is charged with establishing standards and best practices,

conducting peer reviews, and coordinating regulatory oversight – began investigating force-

placed insurance practices and held public hearings on August 9, 2012 to look into the force-

placed insurance practices of banks, insurers and their partners. See Mark E. Ruquet, NAIC

Promises Greater Focus on Force-Placed Insurance as CFPB Proposes Rules,

PropertyCasualty360.com/2012/08/10/naic-promises-greater-focus-on-forc-placed-insura (Aug.

10, 2012).

       15.     Throughout the Class Period (defined below), Defendants have engaged in

unlawful, abusive and unfair practices with respect to force-placed insurance, including: (a)

improperly exploiting the ability to manage and gain access to lines of credit and/or escrow

accounts in order to exact payment for inflated force-placed insurance premiums that included

unlawful kickbacks; (b) forcing insurance on borrowers arranged through pre-designated

providers of force-placed insurance at a substantially higher cost to the borrower; (c) charging

Plaintiff and members of the Class amounts for force-placed insurance, which were inflated by

unreasonable expenses unrelated to the provision of the insurance and that result from collusion

among affiliates and/or providers involved in the process; (d) receiving fees, payments,

commissions and other things of value from providers of force-placed insurance; (e)

misrepresenting that Standard Mortgage was force-placing insurance on Plaintiff’s and Class

members’ properties to secure Standard Mortgage’s interests, and omitting to inform Plaintiff

and Class members that Standard Mortgage was force-placing insurance to generate an




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unreasonable and unwarranted profit for Standard Mortgage and SM Insurance; and (f)

conspiring to take advantage of their contractual authority to force-place insurance on Plaintiff

and the Class members in order to return an undisclosed and improper financial benefit to

Defendants.

         16.    Based on Defendants’ conduct as described herein, Plaintiff asserts claims for (a)

violating the Racketeer Influenced Corrupt Organization Act, 18 U.S.C. §§ 1961-1968

(“RICO”); (b) conspiracy to violate RICO, 18 U.S.C. § 1962(d); (c) Breach of the Duty of Good

Faith and Fair Dealing against Standard Mortgage; (d) Unjust Enrichment against Standard

Mortgage; and (e) Unjust Enrichment against SM Insurance.

         17.    Plaintiff and the Class seek injunctive relief, corresponding declaratory relief,

monetary relief, treble damages under RICO, and other appropriate relief for Defendants’

unlawful conduct, as described herein.

                                             THE PARTIES

A.       Plaintiff

         18.    Plaintiff Jordella Robinson resides in Harvey, Louisiana and is a member of the

Class.

         19.    Plaintiff purchased her home in Harvey, Louisiana with a loan that is now owned

or serviced through Standard Mortgage and/or its affiliated entities.

         20.    Plaintiff was force-placed with insurance by Defendants as alleged below.

B.       Standard Mortgage

         21.    Defendant Standard Mortgage is a Louisiana corporation with its headquarters at

701 Poydras Street, Suite 400, New Orleans, Louisiana.

         22.    Standard Mortgage operates throughout the country, including in this District.




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         23.     At all relevant times, Standard Mortgage was the lender and/or servicer on

Plaintiff’s mortgage.

         24.     Standard Mortgage force placed insurance on Plaintiff and her property as alleged

below.

C.       SM Insurance

         25.     Defendant SM Insurance is a Louisiana corporation with its principal place of

business at 701 Poydras Street, Suite 400 Plaza, New Orleans, Louisiana. It does business

nationwide, including in this District.

         26.     SM Insurance was the insurer on the policies that Standard Mortgage force-placed

on Plaintiff.

                                      JURISDICTION AND VENUE

         27.     This Court has federal question jurisdiction over Plaintiff’s RICO claim pursuant

to 28 U.S.C. § 1331 and supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28

U.S.C. § 1367.

         28.     Personal jurisdiction is conferred by 18 U.S.C. § 1965(a), which allows a party to

institute a civil RICO action in any district in which a defendant “resides, is found, has an agent,

or transacts his affairs.” Alternatively, 18 U.S.C. § 1965(b) provides that as long as one

defendant is subject to service in a particular district, additional parties residing in other districts

may be brought before the forum court, in the court’s discretion, to the extent that “the ends of

justice require.”

         29.     Alternatively, this Court has personal jurisdiction over Defendants because

Defendants are engaged in systematic and continuous business activities in Louisiana, have

sufficient minimum contacts in Louisiana, and/or otherwise intentionally avail themselves of the




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Louisiana consumer market. This purposeful availment renders the exercise of jurisdiction by

this Court over Defendants appropriate under traditional notions of fair play and substantial

justice.

           30.   Venue is proper in this District pursuant to 28 U.S.C. § 1391. Plaintiff resides in

this District, the property on which Defendants force-placed insurance is in this District,

Defendants regularly conduct business in this District, and a substantial part of the events or

omissions giving rise to the claim occurred in this District.

                                       FACTUAL ALLEGATIONS

A.         Background

           31.   As is typical of mortgagees, Standard Mortgage requires borrowers to purchase

and agree to maintain insurance coverage on their secured property.

           32.   To ensure that the mortgagee’s interest in the secured property is protected,

mortgage loan contracts typically allow the lender or third-party servicer to “force-place

insurance” when the homeowner fails to maintain the insurance. The amounts disbursed for the

procurement of such insurance becomes additional debt secured by the mortgage.

           33.   Plaintiff’s and Class members’ mortgage agreements do not disclose that Standard

Mortgage has an exclusive arrangement with SM Insurance to manipulate the force-placed

insurance market and artificially inflate the premiums that SM Insurance and Standard Mortgage

charge to borrowers for force-placed insurance. The mortgage agreements do not disclose that

the premiums are inflated to provide kickbacks and other financial benefits to Standard Mortgage

and its affiliates, often disguised as commissions or reimbursement of expenses, and to cover the

cost of discounted services, or to provide Standard Mortgage with lucrative reinsurance

arrangements and to include unwarranted charges. The mortgage agreements do not disclose that




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this payment will be based upon a percentage of the cost of the premium of the force-placed

insurance.

       34.     Force-placed insurance policies are almost always more expensive than standard

insurance coverage, often by as much as ten times. While the force-placed insurance policy

primarily benefits the lender, servicer and insurer, the excessive cost is passed on to the

borrower. See Jeff Horowitz, Ties to Insurers Could Land Mortgage Servicers in More Trouble,

American Banker, Nov. 10, 2010, 12:00 pm, available at

http://www.americanbanker.com/issues/175_216/ties-to-insurers-servicers-in-trouble-1028474-

1.html?zkPrintable=1&nopagination=1.

B.     Mortgage Loan Servicers Commonly Have Undisclosed Lucrative Pre-
       Arranged Agreements to Refer Borrowers to Certain Force-Placed Insurance
       Providers

       35.     Force-placed insurance programs have become a lucrative business for loan

servicers and/or lenders such as Standard Mortgage. Commonly, the servicer and/or lender

selects the provider through a pre-arranged agreement and force-places the policy in such a way

as to receive improper financial benefits. The servicer and/or lender benefits by placing the

policy either: (a) with an affiliate; or (b) with a third party provider who has already agreed to

share revenue with the lender and/or servicer in the form of a direct commission payment,

subsidized portfolio monitoring and/or through “reinsurance” premiums that are ceded to a

subsidiary/affiliate of the servicer (a “captive reinsurance arrangement”).

       36.     Under the direct payment arrangement, the provider of the force-placed insurance

policy pays a portion of the premium collected either directly to the lender/servicer or to a

subsidiary posing as an insurance “agent” in the form of commissions or as a “reimbursement”

of the servicer’s “incurred expenses” related to force-placing the insurance.




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       37.     Standard Mortgage had such an arrangement with SM Insurance.

       38.     Under the captive reinsurance arrangement, the provider of the force-placed

insurance policy agrees to “reinsure” the force-placed insurance policy with a subsidiary or

“captive reinsurer” of the referring servicer. In return for the subsidiary’s agreement to assume a

portion of the insurer’s risk of loss, the insurer cedes to the subsidiary a portion of the premiums

received on account of the policy.

       39.     Illustrative of the typical kickback arrangements is the following graphic from

American Banker:




       40.     J. Robert Hunter of the Consumer Federation described these practices in his

testimony before the NYSDFS:




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               In some instances, lenders use [force-placed] insurance as a profit
               center by collecting commissions from insurers through lender-
               affiliated agents or brokers or by receiving below-cost or free
               services (such as tracking of loans) from insurers, and/or using
               “fronting” primary insurers to direct the coverage to lender-
               affiliated captive reinsurers. Lenders often receive free or below
               cost services from affiliated service providers.

       41.     Another experienced and noted expert in the area of force-placed insurance, Birny

Birnbaum of the Center for Economic Justice, testified before the NYSDFS and stated that:

               Servicers have financial incentive to force-place the insurance
               because the premium includes commission and other consideration
               for the servicer. With some servicers, the insurance is reinsured
               through a captive reinsurer of the servicer, resulting in additional
               revenue to the servicer from the force-placement coverage.


       42.     Borrowers have no say or input into the carrier or terms of the force-placed

insurance policies. The terms and conditions of the insurance policy, as well as the cost of the

policy, are determined by the servicer and the insurer, rather than negotiated between the

borrower and the insurer.

       43.     For their part, servicers have no incentive to comparison shop for the best rate.

Rather, servicers are financially motivated to refer borrowers to the provider that will give the

best financial benefit to the servicer in terms of commission and/or ceded reinsurance premiums.

As the servicer’s “commission” (i.e., kickback) and/or reinsurance premium is usually related to

the size of the policy, the servicer actually has an incentive to purchase the highest priced

insurance, an interest diametrically opposed to that of the borrower.

       44.     Commonly, a mortgage loan servicer enters into an agreement with an insurance

provider pursuant to which it refers borrowers exclusively to the provider for force-placed

insurance.

       45.     Force-placed insurance policies are not underwritten on an individual policy



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basis. Rather, servicers’ contracts with force-placed insurance providers such as SM Insurance

require, or at least permit, the insurer to automatically issue these policies when a borrower’s

insurance coverage is not maintained.

       46.     As J. Robert Hunter testified recently before the NYSDFS, “[the] lack of

underwriting should also result in much lower acquisition expenses for FPI insurers, since no

sales force is required to place the insurance.”

       47.     Lenders and servicers often go so far as to actually outsource their insurance

processing to the force-placed insurance provider. The provider then continuously monitors the

servicer’s mortgage portfolio and verifies the existence of insurance on each mortgaged property.

In the event that borrowers do not maintain adequate insurance coverage, the insurer promptly

issues an insurance certificate on the property on behalf and for the benefit of the servicer. Thus,

where these servicers receive commissions from force-placed insurance providers (which are

ultimately charged to borrowers), they are performing no service for the commissions they

receive other than simply providing the referral.

       48.     While mortgage servicers and lenders like Standard Mortgage profit greatly from

force-placing insurance, they maintain a shroud of secrecy and do not separately report their

income from payments received from providers of force-placed insurance. However, according

to an article published by American Banker, “a cursory review of force-placed insurers’

financials suggests that the business brings servicers hundreds of millions of dollars every year.”

See Jeff Horowitz, Attorneys General Draw a Bead on Banks’ Force-Placed Insurance Policies,

American Banker (Mar. 10, 2011, 12:25PM), available at

http://www.americanbanker.com/issues/176_48/ags-force-placed-insurance-1034213-1.html

(noting that servicers demand generous commissions and other payments in return for their




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referrals).

        49.    “The incentives and potential for abuse in the administration of LPI [lender placed

insurance] are great. Consumers do not request the insurance, but are forced to pay for it. The

cost of LPI is much higher than a policy the borrower would purchase on his or her own. Lenders

have incentive to force-place the insurance because the premium includes a commission to the

lender and, in some cases; the insurance is reinsured through a captive reinsurer of the lender,

resulting in additional revenue to the servicer from the force-placement of the coverage.” See

July 28, 2011 Testimony of Birny Birnbaum, Executive Director of the Center for Economic

Justice, Before the U.S. House of Representatives Subcommittee on Insurance, Housing and

Community Opportunity Committee on Financial Services (“Birnbaum House Testimony”),

available at http://financialservices.house.gov/uploadedfiles/072811birnbaum.pdf.

        50.    In addition, “[t]he prices for residential property LPI are significantly excessive.

In 2009, insurers paid only 16% of net premium in claims and in 2010 the ratio was 17%.

Incredibly, lenders get a commission – totaling hundreds of millions of dollars – out of these

premiums, despite the fact that the insurance is placed to protect the lenders’ collateral. The

premiums also include the costs of tracking all the loans in the lenders’ portfolios to identify

those loans without insurance – so the lenders’ cost of tracking all loans is passed only to those

consumers paying for force-place [sic] insurance.” Id.

        51.    Servicers commonly attempt to justify the high price of force-placed insurance

policies by pointing to the higher risk associated with the lack of individual policy underwriting.

However, this premise belies the fact that the profit margins generated by force-placed policies

are unheard of elsewhere in the insurance industry.

        52.    Lenders and servicers also attempt to blame the exorbitant cost of force-placed




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insurance on the fact that the policy is issued without the benefit of a prior inspection of the

property. However, according to the National Consumer Law Center, as a general matter,

insurers do not routinely inspect residential properties in the course of underwriting.

       53.     As Birny Birnbaum of the Center for Economic Justice testified, servicer

explanations for the high cost of force-placed insurance are unsupported by any evidence. Loss

ratios have been historically low.

C.     Defendants’ Force-Placed Insurance Operations

       54.     Standard Mortgage was a party to an agreement with SM Insurance whereby

Standard Mortgage received commissions or other financial benefits from SM Insurance for

force placing insurance.

       55.     In return, Standard Mortgage provided SM Insurance and its affiliates with the

unfettered right to collect noncompetitive, inflated premiums from insurance policies force-

placed throughout the United States.

       56.     The excessively inflated price of force-placed insurance provided to Standard

Mortgage borrowers did not represent the actual cost of providing the insurance but instead

encompassed fees, commissions, rebates or kickbacks and other consideration for “faux”

services purportedly provided by SM Insurance. The inflated price also consisted of a significant

mark-up by SM Insurance, which took full advantage of distressed borrowers and the exclusive

nature of its agreement with Standard Mortgage.

       57.     Plaintiff’s force-placed insurance cost more than equivalent, market-priced

insurance.

       58.     Defendants charged Plaintiff a premium of more than $8,000 when the premium

for similar (although more comprehensive) coverage was approximately $2,000.




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         59.   The inflated, non-competitive portion of the force-placed insurance cost,

therefore, was split between Standard Mortgage and SM Insurance and damaged Plaintiff and the

Class.

D.       The Origination of Plaintiff’s Mortgage

         60.   In 2004, Plaintiff purchased a home located at 3844 Cimwood Drive, Harvey,

Louisiana (the “Property”) and obtained a mortgage through Standard Mortgage to finance the

purchase.

         61.   The terms of the Mortgage Agreement required the payment of certain insurance

charges, as detailed in paragraphs 4 and 7:

               4. Fire, Flood, and Other Hazard Insurance. Borrower shall
               insure all improvements on the Property, whether now in existence
               or subsequently erected, against any hazards, casualties, and
               contingencies, including fire. This insurance shall be maintained in
               the amounts and for the periods that Lender requires. Borrower
               shall also insure all improvements on the Property, whether now in
               existence or subsequently erected, against loss by floods to the
               extent required by the Secretary. All insurance shall be carried
               with companies approved by Lender. The insurance policies and
               any renewals shall be held by Lender and shall include loss
               payable clauses in favor of, and in a form acceptable to Lender.

                                         *      *        *

               7. Charges to Borrower and Protection of Lender’s Rights in
               the Property. . . . If Borrower fails to make these payments or the
               payments required by paragraph 2, or fails to perform any other
               covenants and agreements contained in this Security Instrument, or
               there is a legal proceeding that may significantly affect Lender’s
               rights in the Property (such as a proceeding in bankruptcy, for
               condemnation or to enforce laws or regulations), then Lender may
               do and pay whatever is necessary to protect the value of the
               Property and Lender’s rights in the Property, including payment of
               taxes, hazard insurance and other items mentioned in Paragraph 2.
               Any amounts disbursed by Lender under this Paragraph shall
               become an additional debt of Borrower as provided for in the Loan
               Agreement and shall be secured by this Security Instrument. These
               amounts shall bear interest from the date of disbursement, at the



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                Note rate, and at the option of Lender, shall be immediately due
                and payable.

See Mortgage, attached hereto as Exhibit 2 at pages 3 of 8 and 4 of 8.

         62.    After Plaintiff closed on the loan, Standard Mortgage became the lender and

servicer on Plaintiff’s loan, subject to the terms in the Mortgage that Plaintiff had with Integra

Bank.

E.       Standard Mortgage Charged Plaintiff for Force-Placed Insurance Pursuant to
         Lucrative Pre-Arranged Agreements After Issuing Materially False and
         Misleading Notices

         63.    Before Defendants force-placed insurance on Plaintiff and her property, Plaintiff

was paying an annual premium of approximately $2,000 per year for hazard insurance coverage.

         64.    For example, for 2013 the premium for Plaintiff’s own coverage was $2,283.00.

         65.    By letter dated January 4, 2013, Standard Mortgage told Plaintiff that Standard

Mortgage had force-placed insurance coverage on her property: “Our records indicate that you

have not provided us with acceptable evidence of continuous homeowner’s insurance coverage

on the above property. In order to protect our mutual interests in the property, we have ordered

coverage in accordance with the terms of your Deed of Trust/Mortgage. The insurance charges

will be in the amount of $8,845.20.” See Exhibit 3 attached.

         66.    The premium for Defendants’ force-placed coverage was four times the premium

for Plaintiff’s own coverage.

         67.   The notice was objectively false and misleading because it failed to disclose, inter

alia: (a) Standard Mortgage and its affiliates had preexisting agreements with SM Insurance that

guaranteed Standard Mortgage would receive unearned, substantial kickbacks, financial benefits,

a portion of the premium, and below market-cost portfolio monitoring; (b) that the “insurance

charges” for the force-placed insurance were significantly higher because of an illicit quid pro



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quo arrangement between and/or among Standard Mortgage and SM Insurance whereby

Standard Mortgage received substantial kickbacks and other unearned consideration in return for

giving SM Insurance and its affiliates the exclusive right to receive inflated, noncompetitive

force-placed premiums on Standard Mortgage’s entire loan portfolio; (c) the actual “insurance

charges” were far less than the $8,845.20 set forth in the notice; (d) borrowers were also charged

for the undisclosed “commission” received by Standard Mortgage from SM Insurance; (e) the

notice made no reference to the kickbacks or commissions to Standard Mortgage for the force-

placed insurance; (f) that Standard Mortgage would receive financial benefits and consideration

as a result of the force-placement without earning any commission or income; and (g) that

Standard Mortgage would violate the Mortgage’s restriction on doing and paying only what was

“necessary to protect the value of the Property and the Lender’s rights in the Property.”

Mortgage ¶7.

       68.     As a result of the additional charges by Defendants for the force-placed insurance

coverage, Defendants charged Plaintiff’s escrow account approximately $8,000.

       69.     Defendants’ notices and letters were materially misleading because the amounts

charged to Plaintiff for the force-placed insurance were greater than the actual cost to insure the

property (because it included amounts attributable to kickbacks in the form of commissions,

illusory reinsurance, and/or below-cost outsourcing) and greater than the costs of insurance

Standard Mortgage could have obtained elsewhere. The amounts charged were above the then-

existing market rate.

       70.     At no time did Defendants disclose to Plaintiff that the amounts they charged her

covered kickbacks to Standard Mortgage, splitting of premiums by Standard Mortgage and SM

Insurance, reinsurance profits, bundled administrative costs, below-cost services, or any of the




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other impermissible charges described in this Complaint.

       71.     Further, Standard Mortgage did not charge Plaintiff the “necessary” or actual

“cost” of the policy as required by the Mortgage and the representations of Standard Mortgage;

rather, the charges include illegal commissions, kickbacks, reinsurance profits, and profits from

below cost services as described further in this Complaint. Additionally, the policy placed by

Standard Mortgage on Plaintiff’s property was substandard compared to those which Standard

Mortgage could have obtained in the open market.

       72.     Borrowers were also charged for the undisclosed “commission” received by

Standard Mortgage and the notices made no reference to the arrangement between Standard

Mortgage and SM Insurance for kickbacks, commissions and other benefits.

       73.     Moreover, the notices were objectively false and misleading because they failed

to disclose, inter alia: (1) Standard Mortgage and its affiliates had preexisting agreements with

SM Insurance that guaranteed Standard Mortgage would receive unearned, substantial kickbacks

and below market-cost portfolio monitoring and other benefits from SM Insurance; and (2) that

the cost of force-placed insurance was “substantially more expensive” because of an illicit quid

pro quo arrangement between Standard Mortgage and SM Insurance whereby Standard

Mortgage received substantial financial benefits and other unearned consideration in return for

giving SM Insurance the exclusive right to receive inflated, noncompetitive force-placed

premiums on Standard Mortgage’s entire loan portfolio.

       74.     The amount listed as a premium in the escrow statements was materially false and

misleading for the same reasons that the notices and letters were misleading and because the

“annual premium amount” really was for more than just the premium and because:

               (a)    The notices and statements represented that borrowers were
               responsible for the cost of the coverage when, in actuality,



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               borrowers were also charged for the undisclosed “commission”
               and benefits received by Standard Mortgage;

               (b)    The notices and statements failed to disclose that Standard
               Mortgage and its affiliates had preexisting agreements with SM
               Insurance that guaranteed Standard Mortgage would receive
               unearned financial benefits and below-market-cost portfolio
               monitoring;

               (c)      The notices and statements failed to disclose that the cost of
               force-placed insurance was substantially more expensive because
               of an illicit quid pro quo arrangement between Standard Mortgage
               and SM Insurance whereby Standard Mortgage received unearned
               financial benefits and other unearned consideration in return for
               giving SM Insurance the exclusive right to receive inflated,
               noncompetitive force-placed premiums on Standard Mortgage’s
               entire loan portfolio;

               (d)     The notices and statements failed to disclose that the
               commissions or income paid to Standard Mortgage included
               portfolio-monitoring below-market cost and rebates or kickbacks
               and other financial benefits that were not in connection with any
               actual services rendered (and, thus, was not an earned commission
               but instead was a kickback).

F.     Government Response to Mortgage Lender and Servicer Force-Placed
       Insurance Practices

       75.     Force-placed insurance practices of mortgage lenders and servicers, insurance

providers and insurance producers are currently the subject of a number of government

investigations prompted by concerns that consumers are being gouged when they are force-

placed insurance following a lapse in their policies.

       76.     State attorneys general are cognizant of and have taken action concerning

servicers’ abusive practices concerning force-placed insurance. Recently, a coalition of forty-

nine (49) state attorneys general entered into a historic joint state-federal settlement agreement

with the country’s five largest loan servicers (“National Mortgage Settlement”) to address

numerous problems that have surfaced during the foreclosure crisis. See




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www.nationalmortgagesettlement.com/ (official website established by the government relating

to the settlement); see also Jeff Horowitz, Attorneys General Draw a Bead on Banks’ Force-

Placed Insurance Policies, American Banker (Mar. 10, 2011, 12:25 PM)

(http://www.americanbanker.com/issues/176_48/ags-force-placed-insurance-034213-1.html).

       77.     Among other terms, the settlement essentially prohibits servicers from profiting

from force-placed insurance. Specifically, under the settlement, mortgage servicers: (a) shall not

obtain force-placed insurance unless there is a reasonable basis to believe the borrower has not

paid for property insurance; (b) cannot force-place insurance that is in excess of the replacement

cost of the improvements on the secured property; (c) must work with the borrower to continue

or reestablish the existing homeowner’s policy; (d) shall continue to make payments if there is a

lapse in payment and the payments are escrowed regardless of homeowner payment; and (e)

must purchase the force-placed insurance for a commercially reasonable price. Id.; see also

Consent Judgment, United States of America v. Bank of America Corp., Civ. No. 1:12-cv-00361-

RMC (D.D.C. Apr. 14, 2012) (ECF No. 14 Section VII).

       78.     Notably, state insurance commissioners and federal regulators have investigated

and condemned captive reinsurance arrangements in the title insurance industry – which also had

a relatively low level of losses – as nothing more than sham transactions designed to funnel

unlawful kickbacks for business referrals. See, e.g., Broderick Perkins, Title Insurance Industry

in Hot Water with Regulators Again, SAN JOSE BUSINESS JOURNAL (May 22, 2005),

available at http://www.bizjournals.com/sanjose/stores/2005/05/23/story4.html.

       79.     Indeed, while announcing a $37.8 million settlement with nine title insurers, then

Florida Insurance Commissioner John Garamendi stated, “This reinsurance scheme appears to be

nothing more than a form of commercial bribery.” As a result, a number of providers have




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abandoned such arrangements altogether. See Press Release, Florida Department of Insurance

(July 20, 2005), available at http://www.departmentofinsurance.ca.gov/0400-news/0100-press-

releases/0080-2005/release069-05.cfm.

       80.     Fannie Mae has changed its policies so as to curb bank and servicers’ improper

practices. Fannie Mae issued a Service Guide Announcement on March 14, 2012, “amending and

clarifying its policies regarding the use, coverage, requirements, deductibles, carrier eligibility

requirements, and allowable reimbursable expenses for lender-placed insurance” for servicers of

the loans it holds. The Fannie Mae guidelines seek to eliminate the abuses prevalent in the force-

placed insurance industry including requiring that the cost of force-placed insurance be

“competitively priced” and “commercially reasonable” and must exclude: (1) any lender-placed

insurance commission earned on that policy by the servicer or any related entity; (2) costs

associated with insurance tracking or administration; (3) or any other costs beyond the actual

cost of the lender-placed insurance policy premium. See Fannie Mae Servicing Guide

Announcement SVC-2012-04, available at

https://www.fanniemae.com/content/announcement/svc1204.pdf.

       81.     The New York State Department of Financial Services’ hearings on force-placed

insurance resulted in government action and findings that borrowers were over-charged for

force-placed insurance. On June 12, 2012, Governor Cuomo’s website announced, “DFS

Investigation Indicates Insurance Companies Overcharged for Force-Placed Insurance.” It stated:

               The evidence of higher than necessary insurance premiums was
               made clear at a recent DFS hearing. Also, DFS discovered that the
               force-placed insurance market lacks the sort of competition that
               would keep premiums down. In New York, two companies have
               90 percent of the market. In addition, the hearings made clear that
               high force-placed insurance costs are having a terrible impact on
               homeowners, while banks and insurers are profiting off the
               payments.



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See Governor Cuomo Announces DFS Action Could Save Some New York Homeowners

Millions in Overcharges to Home Insurance, available at

http://www.governor.ny.gov/press/06122012DFS.

       82.       The relatively low level of losses associated with force-placed insurance indicates

that reinsurance with captives is also unnecessary. For example, during 2009, one insurer

collected approximately $2.7 billion of premiums through its specialty insurance division, which

is overwhelmingly devoted to force-placed insurance. Notably, this insurer paid out only 36% of

this amount in claims, though in the company’s other lines of business a 70% claims-to-

premiums ratio is the norm. Not surprisingly, far from being an excessive risk, force-placed

insurance is actually this insurer’s most profitable product.

       83.       Birny Birnbaum, in his testimony before the New York Attorney General,

presented statistics collected by the NAIC reflecting nationwide loss ratios for lender-placed

insurance during the 2004-2011 period as being, on average, more than thirty-five points lower

than the ratios for commercially available homeowners policies. See Birnbaum NYSDFS

Testimony at 9, available at

http://www.dfs.ny.gov/about/hearings/fp_052012/Birny_Birnbaum_Center_for_Economic_Justi

ce_testimony.pdf. When confined to the period from 2007-2011, the disparity between lender-

placed insurance loss ratios and those of commercially available homeowners policies was nearly

42 points. Id.

G.     Standard Mortgage’s Force Placed Insurance Policies and Practices Provide
       Unearned and Unjustified Profits and Kickbacks to Defendants

       84.       As American Banker observed, “[w]hile servicers that partner with force-placed

insurers customarily perform little of the work in monitoring their portfolios for lapses and




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writing policies, payments to them are simply a cost of doing force-placed business.” See Ties to

Insurers, available at http://www.americanbanker.com/issues/175_216/ties-to-insurers-servicers-

in-trouble-1028474-1.html?zkPrintable=1&nopagination=1. These costs are ultimately paid by

the borrowers.

       85.       Indeed, industry analysts have opined that referral fees, commissions and other

payments to bank affiliates explain why insurers’ overhead, which is ultimately passed on to

borrowers, is higher, implying paydays for servicers amounting to hundreds of millions of

dollars per year.

       86.       Moreover, the charges that Standard Mortgage chose to impose upon borrowers

for force-placed insurance also unlawfully included the cost of portfolio monitoring and tracking

services for Standard Mortgage’s entire loan portfolio, the cost of which was then passed on to

the small percentage of borrowers whose properties were force placed.

       87.       Unjustified fees which amount to kickbacks also inflate the premiums of force

placed insurance:

                 The classic role of the insurance producer is to help the
                 policyholder determine her insurance needs and shop the market
                 for the insurance product that meets the policyholder’s needs while
                 seeking the most competitive price for the product. Such activities
                 simply do not exist in [FPI] because there are only two national
                 providers of the necessary package of insurance and related
                 services and there is no price competition among the insurers.
                 Soliciting new business consists of asking typically two venders
                 for proposals – and such activity is a rare event for most servicers.

Birnbaum NYSDFS Testimony at 18, available at

http://www.dfs.ny.gov/about/hearings/fp_052012/Birny_Birnbaum_Center_for_Economic_Justi

ce_testimony.pdf.

       88.       Standard Mortgage’s practices of unlawfully profiting from force-placing




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insurance policies tend to keep premiums for force-placed insurance artificially inflated over

time because a percentage of borrowers’ premiums are not actually being paid to cover actual

risk, but are simply funding illegal kickbacks. Amounts paid to servicers and their affiliates as

commissions and reinsurance premiums have become a part of the cost of doing business for

force-placed insurance providers. As a result, force-placed insurance premiums incorporate the

payment of these kickbacks – to the detriment of consumers.

         89.   Standard Mortgage (through SM Insurance) has threatened and, indeed, stifled

competition through this scheme. As the NAIC recently opined when asked whether pricing in

the area of force-placed insurance is competitive, servicers have “no incentive to select a

competitively priced product, but instead would be more concerned with selecting one they know

best protects bank’s interests or one where they are provided with an incentive or inducement to

enter into the transaction.” See Ties to Insurers, available at

http://www.americanbanker.com/issues/175_216/ties-to-insurers-servicers-in-trouble-1028474-

1.html?zkPrintable=1&nopagination=1.

                                   CLASS ACTION ALLEGATIONS

         90.   Plaintiff asserts her RICO claims on behalf of the following proposed nationwide

Class:

               All persons who have or had a mortgage loan or line of credit
               owned, originated or serviced by Standard Mortgage and/or its
               affiliates secured by property located in United States and, in
               connection therewith, were charged for “force-placed” insurance
               on the secured property within the applicable statute of limitations.

         91.   Plaintiff asserts her state law claims on behalf of the following proposed

Louisiana sub-Class:

               All persons who have or had a mortgage loan or line of credit
               owned, originated or serviced by Standard Mortgage and/or its



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               affiliates secured by property located in Louisiana and, in
               connection therewith, were charged for “force-placed” insurance
               on the secured property within the applicable statute of limitations.

       92.     These Classes exclude any judge or magistrate assigned to this case, Defendants,

and any entity in which any Defendant has a controlling interest, and Defendants’ officers,

directors, legal representatives, successors, and assigns.

       93.     Numerosity: The Class is so numerous that joinder of all Class members is

impracticable. The Class includes likely thousands of Standard Mortgage’s customers.

       94.     Typicality: Plaintiff’s claims are typical of the members of the proposed Class.

       95.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Class,

and has retained counsel experienced in complex class action litigation. Plaintiff has no interests

that are adverse to those of the Class that she seeks to represent.

       96.     Commonality: Common questions of law and fact exist as to all members of the

Class and predominate over any questions solely affecting individual members of the Class,

including:

       A.      Whether Defendants’ form letters to borrowers materially misrepresent the
               nature of force-placed insurance;

       B.      Whether Standard Mortgage maintained a policy of referring force-placed
               insurance business to insurers pursuant to pre-arranged agreements;

       C.      Whether Standard Mortgage received commissions or any other payments or
               things of value from SM Insurance and force-placed insurance providers;

       D.      Whether Standard Mortgage participated in arrangements that involved
               kickbacks;

       E.      Whether Defendants received financial benefits from the force-placed
               insurance providers in the form of insurance monitoring, tracking and
               processing services;

       F.      Whether Defendants received unauthorized and illicit payments in connection
               with force-placed insurance that were unrelated to a bona fide service in



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                connection with the force-placed insurance and its purpose;

        G.      Whether Defendants received payments in connection with force-placed
                insurance that exceeded the value of any services actually performed or that
                were otherwise commercially unreasonable;

        H.      Whether Standard Mortgage and SM Insurance devised a scheme to defraud
                borrowers and loan owners by charging them for force-placed insurance;

        I.      Whether the scheme alleged herein constitutes mail or wire fraud;

        J.      Whether Defendants have been unjustly enriched;

        K.      Whether Defendants are liable to Plaintiff and the Class for damages and, if
                so, the measure of such damages; and

        L.      Whether Plaintiff and the Class are entitled to declaratory, injunctive, and other
                equitable relief.

        97.     These and other questions of law and fact are common to the Class and

predominate over any questions affecting only individual members of the Class.

        98.     Plaintiff is a member of the Class and will fairly and adequately represent and

protect the interests of the Class. Plaintiff has no claims antagonistic to those of the Class.

Plaintiff has retained counsel competent and experienced in complex nationwide class actions,

including all aspects of this litigation. Plaintiff’s counsel will fairly, adequately and vigorously

protect the interests of the Class.

        99.     Class action status is warranted under Rule 23(b)(1)(A) because prosecuting

separate actions by or against individual members of the Class would create a risk of inconsistent

or varying adjudications with respect to individual members of the Class, which would establish

incompatible standards of conduct for Defendants.

        100.    Class action status is also warranted under Rule 23(b)(1)(B) because prosecuting

separate actions by or against individual members of the Class would create a risk of

adjudications with respect to individual members of the Class which would, as a practical matter,



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be dispositive of the interests of the other members not parties to the adjudications or

substantially impair or impede their ability to protect their interests.

          101.    Class action status is also warranted under Rule 23(b)(2) because Defendants

have acted or refused to act on grounds generally applicable to the Class, thereby making

appropriate final injunctive relief or corresponding declaratory relief with respect to the Class as

a whole.

          102.    Class action status is also warranted under Rule 23(b)(3) because questions of law

or fact common to the members of the Class predominate over any questions affecting only

individual members, and a class action is superior to other available methods for the fair and

efficient adjudication of this controversy.

          103.    Plaintiff reserves her right to modify or amend the definition of the proposed

Class at any time before the Class is certified by the Court.

                                                  COUNT I

                 VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                         ORGANIZATIONS ACT, 18 U.S.C. §§ 1961-1968
                                   (Against all Defendants)

          104.    Plaintiff repeats and realleges each and every paragraph above as if set forth

herein.

          105.    Plaintiff, each Class member, and each Defendant, are “persons,” as that term is

defined in 18 U.S.C. §§ 1961(3) and 1962(c)

                                               The Enterprise

          106.    For purposes of this claim, the RICO “enterprise” is an association-in-fact, as the

term is defined in 18 U.S.C. §§ 1961(4) and 1962(c), consisting of the Defendants, including

their respective officers, directors, employees, agents and direct and indirect subsidiaries (




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“Enterprise”). The Enterprise was separate and distinct from the persons that constituted the

Enterprise.

       107.    The Enterprise was primarily managed by Standard Mortgage, which organized

the fraudulent scheme and procured the involvement of SM Insurance.

       108.    Alternatively, the Enterprise was managed by SM Insurance, which organized the

fraudulent scheme and procured the involvement of Standard Mortgage.

       109.    Each of the Defendants, however, agreed to, and did, participate in the conduct of

the Enterprise, and carried out their roles using broad and independent discretion.

       110.    The companies and individuals that constitute the Enterprise were associated for

the common purpose of defrauding borrowers and loan owners by overcharging them for force-

placed insurance with respect to Standard Mortgage-serviced loans. The purpose thereof was to

induce borrowers to pay, and the owners of the loans to incur, overcharges in respect to such

insurance. At all relevant times, the Enterprise was engaged in and its activities affected

interstate commerce. The proceeds of the Enterprise were distributed to its participants, Standard

Mortgage and SM Insurance, and their affiliates.

       111.    The Enterprise operated from at least 2009 and its operation is ongoing. The

Enterprise has an ascertainable structure separate and apart from the pattern of racketeering

activity in which the Defendants engage.

       112.    Since at least 2009 Standard Mortgage has obtained force-placed insurance

policies from SM Insurance for the loans Standard Mortgage services.

       113.    Standard Mortgage hires SM Insurance as a subcontractor to perform Standard

Mortgage’s “insurance tracking” duties under Standard Mortgage’s servicing agreements.

Insurance tracking is a labor-intensive servicing responsibility related to force-placed insurance.




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It consists of monitoring the status of homeowners’ voluntary insurance to confirm that it is in

force, notifying homeowners of any insurance deficiencies, and securing force-placed insurance

when appropriate.

       114.    This action is brought because Standard Mortgage, together with SM Insurance

and its affiliates, devised and carried out a scheme to defraud borrowers and loan owners by

overcharging them for force-placed insurance. Pursuant to the scheme, SM Insurance and its

affiliates pay Standard Mortgage secret rebates, i.e., kickbacks, camouflaged through complex

transactions using affiliates and related parties. Standard Mortgage pockets the rebates for itself,

while fraudulently billing borrowers based on the full purported price of the force-placed

insurance. In other words, the rebates reduce Standard Mortgage’s force-placed insurance costs,

but those savings are not passed through to borrowers. Because the amounts supposedly paid by

Standard Mortgage for force-placed insurance constitute “servicing advances,” loan owners bear

the inflated charges through reduced loan proceeds and higher loss severities to the extent

borrowers fail to pay.

       115.    Any amounts paid by the servicer to buy force-placed insurance count as

“servicing advances” under pooling and services agreement and other agreements between the

servicer and the loan owner. The servicer is entitled to recoup such advances from the proceeds

of the loan, whether through payments made by the borrower or, if the borrower defaults,

through proceeds at foreclosure. Additionally, the servicer has the right to be reimbursed before

any money is passed through to the securitization trust or other loan owner. In other words, the

servicer gets paid “off the top.” In this respect, servicers are functionally the senior-most

creditors with respect to the loans they manage; their rights are senior even to those of the

owners of the loans.




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       116.    As devised by Standard Mortgage and/or SM Insurance, the scheme involves the

payment of rebates/kickbacks in at least two forms: (i) below-market tracking services and (ii)

bogus “commissions.”

       117.    The below-market cost portfolio monitoring and tracking services are provided by

SM Insurance. More specifically, the insurers and underwriters compensate SM Insurance for

force-placing insurance, which includes compensation for its tracking services. Standard

Mortgage pays only nominal consideration. The below market cost for tracking services

constitutes rebates/kickbacks in kind.

       118.    The bogus “commission” paid by SM Insurance to Standard Mortgage or to

Standard Mortgage’s affiliates is also a kickback. As with the tracking services, the money for

the “commissions” is derived from the force-placed insurance premiums paid by Standard

Mortgage. The “commission” payments are made on the pretense that a third-party insurance

agent introduced the insurance customer, i.e., Standard Mortgage, to SM Insurance and its

affiliates. At all relevant times, however, this pretense has been false.

       119.    Standard Mortgage received the kickbacks from SM Insurance.

       120.    Taxpayer-backstopped Government Sponsored Enterprises (“GSEs”) Fannie Mae,

Freddie Mac, and Ginnie Mae, which own and/or guarantee more than two-thirds of the loans

serviced by Standard Mortgage, have also been grossly overcharged for force-placed insurance

as a result of the scheme.

                                  The Pattern of Racketeering Activity

       121.    At all relevant times, in violation of 18 U.S.C. § 1962(c), Defendants conducted

the affairs of the Enterprise through a pattern of racketeering activity as defined in RICO, 18

U.S.C. § 1961(5) by virtue of the conduct described in this Complaint. The Defendants have




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conducted the affairs of the Enterprise and participated in the operation and management thereof

at least through the following conduct:

       122.    Standard Mortgage enters into servicing agreements with owners and/or holders

of whole loans. The servicing agreements provide, inter alia, that Standard Mortgage is obligated

to maintain continuous insurance on the secured properties.

       123.    Standard Mortgage buys force-placed insurance from SM Insurance or its

affiliates with respect to the loans Standard Mortgage services. Standard Mortgage pays

insurance premiums to SM Insurance for the force-placed insurance.

       124.    Standard Mortgage hires SM Insurance as a subcontractor to perform Standard

Mortgage’s “insurance tracking” responsibilities.

       125.    Standard Mortgage and SM Insurance, and their affiliates conceal from the public,

borrowers, and loan owners, that Standard Mortgage pays SM Insurance below market price for

its insurance tracking services and that SM Insurance is also compensated by the insurance

company and underwriters for these services.

       126.    SM Insurance or its affiliates pay rebates or kickbacks to Standard Mortgage.

       127.    The money to pay the rebates or kickbacks is derived from Standard Mortgage’s

force-placed insurance premiums. The amount of the rebates or kickbacks is computed as a

percentage of Standard Mortgage’s force-placed insurance premiums.

       128.    The rebates and kickbacks are paid in the form of below-market cost tracking

services and bogus “commissions.”

       129.    The bogus “commissions” are paid by SM Insurance to Standard Mortgage or an

affiliate of Standard Mortgage on the false pretense that the affiliate is a third-party insurance

agent. SM Insurance falsely labels these payments as “commissions.”




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       130.    As a quid pro quo for the rebates and kickbacks, Standard Mortgage continues to

procure force-placed insurance from SM Insurance or its affiliates for inflated, noncompetitive

prices and continues to outsource insurance tracking to SM Insurance.

       131.    Standard Mortgage retains the rebates/kickbacks for itself, while billing and

charging borrowers based on the full purported price of the force-placed insurance. The

rebates/kickbacks reduce Standard Mortgage’s force-placed insurance costs, but those savings

are not passed through to borrowers. Instead, borrowers are billed and charged the full purported

price of the force-placed insurance even though that does not reflect the actual cost of the

insurance policy.

       132.    Additionally, when borrowers make their mortgage payments, Standard Mortgage

subtracts the inflated amounts billed with respect to force-placed insurance off the top before

applying any balance to principal, interest, or other charges.

       133.    Because amounts paid for force-placed insurance are servicing advances,

Standard Mortgage has inflated charges to borrowers by failing to pass through the rebates and

kickbacks to borrowers. Standard Mortgage reimburses itself from the proceeds of the loans

based on the inflated servicing advances. To the extent borrowers fail to pay, loan owners bear

the inflated charges.

       134.    SM Insurance computes the amounts purportedly due and issues notices to

borrowers fraudulently setting forth the balances owed for force-placed insurance based on the

full prices of the force-placed insurance premiums without subtracting the rebates and kickbacks.

       135.    SM Insurance represents to consumers that notices are issued by Standard

Mortgage.

       136.    The notices and letters are on Standard Mortgage letterhead although SM




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Insurance sends those letters and notices.

       137.    Standard Mortgage approved and directed the issuance of the notices.

       138.    The notices materially omit that Standard Mortgage is already reimbursed for a

portion of the inflated premium by SM Insurance. By requiring borrowers to pay the full price of

the inflated premium, Standard Mortgage gives itself a windfall.

       139.    The notices are materially false by representing that borrowers are responsible for

the cost of insurance when they actually are responsible for more than just the cost of the

insurance. They are charged for the undisclosed “commission” that Standard Mortgage receives.

       140.    To the extent that any notices that Defendants issue reveal that either Defendant

will receive any kind of compensation in connection with the force-placed insurance, that

statement was objectively false and misleading because it failed to disclose, inter alia: (1)

Standard Mortgage “always” will receive compensation (instead of “may” receive

compensation); (2) Standard Mortgage and its affiliates had preexisting agreements with SM

Insurance that guaranteed that Standard Mortgage would receive a substantial rebate or kickback;

(3) the compensation paid to Standard Mortgage, including below-market cost portfolio-

monitoring and rebate/kickbacks, is not in connection any actual services rendered, and thus is

not earned compensation but instead is a kickback; (4) under the agreements, Standard Mortgage

was not compensated for the placement of the individual policies or certificates but rather was

rebated or kicked-back money for agreeing to enter into exclusive force-placed insurance and

outsourcing agreements with SM Insurance.

       141.    The notices and statements lull borrowers into believing that no fraudulent

scheme is occurring and that Standard Mortgage and SM Insurance and/or their affiliates are

simply exercising Standard Mortgage’s rights under borrowers’ mortgage loan agreements. By




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lulling Plaintiff and the Class into a false sense of security, the notices and statements make it

less likely that borrowers will object to the improper charges, complain to the authorities, or

bring lawsuits.

       142.       Standard Mortgage issues remittance reports, monthly servicing reports, and

annual certifications of compliance to loan owners that include information about Standard

Mortgage’s compensation, advances, and reimbursements. The reports and certifications

fraudulently set forth balances for Standard Mortgage’s advances and reimbursements based on

the full prices of the force-placed insurance without subtracting the rebates and kickbacks. The

reports and certifications also fraudulently exclude the compensation that Standard Mortgage

derives from the kickbacks and rebates, which are not disclosed in the reports and certifications.

Moreover, the reports and certifications fraudulently conceal that SM Insurance is not

meaningfully compensated by Standard Mortgage from Standard Mortgage’s own funds but,

instead, through the force-placed insurance premiums, despite the fact that Standard Mortgage is

thereby breaching its agreements with loan owners. The reports and certifications also omit that

Standard Mortgage unjustly enriched itself by acting outside of its contractual authority within

the mortgage loan agreements by billing borrowers for reimbursement of force-placed insurance

costs in amounts in excess of Standard Mortgage’s actual costs.

       143.       The remittance reports, monthly servicing reports, and annual certifications of

compliance lull loan owners into believing that no fraudulent scheme is occurring and that

Defendants are simply exercising Standard Mortgage’s rights under their servicing agreements.

By lulling loan owners into a false sense of security, the remittance reports, monthly servicing

reports, and annual certifications of compliance notices and statements make it less likely that

loan owners will object to the improper charges, complain to the authorities, or bring lawsuits.




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                             The Predicate Acts of Mail and Wire Fraud

       144.    The pattern of racketeering activity consisted of mail and/or wire fraud in

violation of 18 U.S.C. §§ 1341 and 1343. Specifically, the Enterprise engaged in an intentional

scheme or artifice to defraud borrowers and the owners of the loans serviced by Standard

Mortgage and to obtain money or property from said borrowers and loan owners through false or

fraudulent pretenses, representations and promises.

       145.    The bribes, kickbacks, false statements and omissions, and mail and/or wire

communications of Standard Mortgage and SM Insurance and their affiliates in furtherance of

the scheme constituted predicate acts of mail and/or wire fraud.

       146.    It was reasonably foreseeable to Standard Mortgage and SM Insurance and their

affiliates that the mails and/or wires would be used in furtherance of the scheme, and the mails

and/or wires were in fact used to further and execute the scheme.

       147.    The nature and pervasiveness of the Enterprise necessarily entailed frequent wire

and/or mail transmissions. The precise dates of such transmissions cannot be alleged without

access to the books and records of Defendants. Nevertheless, Plaintiff can allege such

transmissions generally.

       148.    For the purpose of furthering and executing the scheme, Standard Mortgage and

SM Insurance and their affiliates regularly transmitted and caused to be transmitted by means of

wire communication in interstate commerce writings, electronic data and funds, and also

regularly caused matters and things to be placed in post offices or authorized depositories, or

deposited or caused to be deposited matters or things to be sent or delivered by a private or

commercial interstate carrier. For example:

               (a)     SM Insurance issued materially false and misleading notices relating to




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force-placed insurance to borrowers via mail;

               (b)     SM Insurance also communicated to borrowers with respect to force-

       placed insurance issues by telephone;

               (c)     Standard Mortgage issued monthly statements incorporating the falsely

       overstated force-placed insurance charges to borrowers via mail and/or wire;

               (d)     Standard Mortgage issued materially false and misleading remittance

       reports, monthly servicing reports and annual certifications of compliance to loan

       owners via the mail and/or electronically via wire;

               (e)     SM Insurance and/or Standard Mortgage received force-placed insurance

       payments from borrowers via mail and/or wire; and

               (f)     SM Insurance transmitted funds to Standard Mortgage’s affiliates

       reflecting purported “commissions” via mail and/or wire.

       149.    Standard Mortgage and SM Insurance and their affiliates utilized the mails and/or

wires for the purpose of furthering and executing the scheme. As Standard Mortgage’s insurance

tracking subcontractor, SM Insurance drafts and issues standardized notices to borrowers.

       150.    Prior to the placement of force-placed insurance, SM Insurance issues notices to

borrowers demanding evidence of insurance and warning that Standard Mortgage will force

place coverage if such evidence is not forthcoming. Once force-placed insurance is imposed, SM

Insurance issues a letter (on Standard Mortgage letterhead) to inform borrowers that it has

obtained coverage.

       151.    These are only examples of certain instances of the pattern of racketeering activity

consisting of mail and/or wire fraud violations engaged in by Standard Mortgage, SM Insurance

and their affiliates. Each electronic and/or postal transmission was incident to an essential part of




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the scheme. As detailed above, Standard Mortgage, SM Insurance and their affiliates engaged in

similar activities with respect to each member of the Class and with respect to the owners of the

loans of each member of the Class.

       152.    Each such electronic and/or postal transmission constituted a predicate act of wire

and/or mail fraud in that each transmission furthered and executed the scheme to defraud

borrowers and the owners of the loans.

       153.    Standard Mortgage, SM Insurance and their affiliates each participated in the

scheme to defraud knowingly, willfully and with a specific intent to defraud borrowers and the

owners of the loans into paying and/or incurring falsely inflated, unauthorized charges in

connection with force-placed insurance.

       154.    The predicate acts of mail and wire fraud constitute a pattern of racketeering

activity as defined in 18 U.S.C. § 1961(5). The predicate acts were not isolated events, but

related acts aimed at the common purpose and goal of defrauding borrowers and loan owners to

pay and incur the falsely inflated, unauthorized charges with respect to force-placed insurance

and thereby enable Standard Mortgage, SM Insurance and their affiliates to reap illicit profits.

       155.    Standard Mortgage, SM Insurance and their affiliates were common participants

in the predicate acts. Their activities amounted to a common course of conduct, with similar

pattern and purpose, intended to deceive borrowers and owners of the loans.

                                          Honest Services Fraud

       156.    The scheme alleged herein also constitutes “honest services” fraud in violation of

18 U.S.C. § 1346.

       157.    The wire fraud and mail fraud statutes make it a crime to, inter alia, devise a

scheme to deprive another of “honest services.”




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       158.    The mail fraud statute reads in relevant part as follows:

               Whoever, having devised . . . any scheme or artifice to defraud, or
               for obtaining money or property by means of false or fraudulent
               pretenses, representation, or promises . . . [uses the mails in
               furtherance of the scheme shall be punished by imprisonment or
               fine or both].

18 U.S.C. § 1341.

       159.    The wire fraud statute is in relevant respects identical. See 18 U.S.C. § 1343.

       160.    18 U.S.C. § 1346 provides:

               For the purposes of this chapter [including § 1341 and § 1343], the
               term “scheme or artifice to defraud” includes a scheme or artifice
               to deprive another of the intangible right to honest services.

18 U.S.C. § 1346.

       161.    Through 18 U.S.C. § 1346, Congress brought schemes to deprive another of

honest services within the scope of the mail and wire fraud statutes.

       162.    In Skilling v. United States, 561 U.S. 358 (2010), the Supreme Court addressed

the scope and constitutionality of 18 U.S.C. § 1346, concluding that the statute criminalizes

“fraudulent schemes to deprive another of honest services through bribes or kickbacks.” Id. at

404. In fact, the Court held that, for purposes of the mail and wire fraud statutes, the term

“scheme or artifice to defraud” in 18 U.S.C. § 1346 (the “honest services” provision), applies to

bribes and kickbacks. The Court stated that “there is no doubt that Congress intended § 1346 to

reach at least bribes and kickbacks” because the “vast majority” of pre-McNally honest services

cases involved bribery or kickback schemes. Id. at 365.

       163.    At all relevant times, Standard Mortgage owed legal duties to render services to

loan owners and borrowers. In all cases, those duties included maintaining continuous insurance

coverage on the secured properties. The value of Standard Mortgage’s services depended on




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Standard Mortgage rendering those services in an honest manner. Nevertheless, Standard

Mortgage misused its position as the servicer of the loans to extract bribes and kickbacks from

SM Insurance. Standard Mortgage thereby breached its obligation to render “honest services” to

loan owners and borrowers. Standard Mortgage and SM Insurance devised a scheme or artifice

to defraud borrowers of their intangible right to Standard Mortgage’s honest services through

kickbacks.

                                  The Predicate Acts of Extortion,
                                       Attempted Extortion,
                                And Conspiracy to Commit Extortion

       164.    The pattern of racketeering activity also consisted of extortion, attempted

extortion, and conspiracy to commit extortion in violation of the Hobbs Act, 18 U.S.C. §

1951(a).

       165.    As alleged above, the mortgage loan agreements of Plaintiff and the Class

authorize the lender to charge borrowers the costs of any insurance force-placed on their

property. Nothing in the agreements authorizes the lender to charge any amount in excess of the

lender’s cost. Pursuant to the scheme alleged herein, however, Plaintiff and the Class were

charged amounts in excess of Standard Mortgage’s force-placed costs with respect to the

borrowers’ property. The rebates/kickbacks that Standard Mortgage received reduced such costs.

Nevertheless, Standard Mortgage charged borrowers based on the full purported price of the

force-placed insurance.

       166.    At all relevant times, by virtue of the conduct alleged above, Standard Mortgage,

SM Insurance and their affiliates induced, and attempted and conspired to induce, Plaintiff and

the Class to pay these extra-contractual amounts, which were in excess of Standard Mortgage’s

force-placed insurance costs and not due under their respective mortgage loan agreements,




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through the wrongful use of actual or threatened fear of economic harm. Specifically, Standard

Mortgage, SM Insurance and their affiliates used, and attempted and conspired to use, the actual

or threatened fear of default and foreclosure to induce Plaintiff and the Class to pay the improper

charges imposed.

       167.    As alleged above, the mortgage loan agreements of Plaintiff and the Class entitled

Standard Mortgage to add any force-placed insurance charges to the balances of their loans and

to foreclose in order to collect such charges if unpaid. The mortgage loan agreements provide, in

words or substance, that any insurance charges “shall become an additional debt of Borrower and

be secured by this Security Instrument,” Exhibit 2 (Mortgage) at ¶ 7, and that the lender or its

authorized servicer is entitled to foreclose to collect any unpaid amounts due.

       168.    Mortgage loan servicers routinely collect unpaid force-placed insurance charges

through foreclosure. Superintendent Lawsky found that force-placed insurance charges

frequently “push distressed homeowners over the foreclosure cliff.”

       169.    By virtue of the facts alleged above, Plaintiff and the Class reasonably believed:

(i) that Standard Mortgage possessed the power to collect any unpaid force-placed insurance

charges through foreclosure; and (ii) that Standard Mortgage would exploit that power and

foreclose if borrowers failed to pay the insurance charges that Standard Mortgage and SM

Insurance imposed.

       170.    Additionally, by virtue of the facts alleged above, Standard Mortgage, SM

Insurance and their affiliates agreed to engage in the acts alleged above, and intentionally

performed acts, including, without limitation, the acts alleged above, and under the

circumstances as Standard Mortgage, SM Insurance and their affiliates believed them to be,

constituted violations of the Hobbs Act and/or substantial steps in the commission of a Hobbs




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Act violation. Moreover, Defendants and their affiliates thereby affected and intended to affect

interstate commerce.

       171.    Plaintiff and the Class received nothing of value in exchange for payment of the

excess force-placed insurance charges.

                                    Injury to Plaintiff and the Class

       172.    As a direct and proximate result of violations of 18 U.S.C. § 1962(c) by

Defendants and their affiliates, Plaintiff and the Class have been injured in their business or

property within the meaning of 18 U.S.C. § 1964(c).

       173.    Plaintiff and the Class paid or were charged falsely inflated, unauthorized force-

placed insurance premiums by reason, and as a direct, proximate and foreseeable result, of the

scheme alleged. Moreover, the overcharging of Plaintiff and the Class for force-placed insurance

was an integral and necessary part of the scheme, as those overcharges constituted purported

“servicing advances” that Standard Mortgage was entitled to recoup “off the top” from the

proceeds of the loans.

       174.    Under the provisions of 18 U.S.C. § 1964(c), the Defendants are jointly and

severally liable to Plaintiff and the Class for three times the damages sustained, plus the costs of

bringing this suit, including reasonable attorneys’ fees.

       175.    SM Insurance is directly liable for its own violations of RICO, as alleged above.

       176.    As alleged above, at all times relevant herein, when SM Insurance committed the

RICO violations alleged herein, SM Insurance was acting within the course and scope of its

authority as an authorized agent of Standard Mortgage and its affiliates.




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                                                  COUNT II

                 CONSPIRACY TO VIOLATE THE RACKETEER INFLUENCED AND
                      CORRUPT ORGANIZATION ACT, 18 U.S.C. § 1962(d)
                                  (Against All Defendants)

          177.    Plaintiff repeats and realleges each and every paragraph above as if set forth

herein.

          178.    RICO, 18 U.S.C. § 1962(d), provides that it “shall be unlawful for any person to

conspire to violate any of the provisions of subsection (a), (b), or (c) of this section.”

          179.    As set forth in Count I, above, at all relevant times, Plaintiff and the Class were

“persons” within the meaning of RICO, 18 U.S.C. §§ 1961(3) and 1962(c).

          180.    Defendants and their affiliates formed the previously alleged association-in-fact

Enterprise, within the meaning of 18 U.S.C. § 1961(4), for the common purpose of fraudulently

overcharging borrowers and loan owners with respect to force-placed insurance. The purpose

thereof was to induce borrowers and loan owners to pay or incur fraudulently inflated,

unauthorized charges with respect to force-placed insurance.

          181.    The Enterprise was engaged in, and its activities affected interstate commerce

within the meaning of 18 U.S.C. § 1962(c).

          182.    As set forth in Count I, above, Defendants and their affiliates conducted or

participated, directly or indirectly, in the conduct of the Enterprise’s affairs through a pattern of

racketeering activity within the meaning of 18 U.S.C. § 1961(5) in violation of 18 U.S.C. §

1962(c).

          183.    Defendants and their affiliates were each associated with the Enterprise and

agreed and conspired to violate 18 U.S.C. § 1962(c), and agreed to conduct and participate,

directly or indirectly, in the conduct of the affairs of the Enterprise through a pattern of




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racketeering activity in violation of 18 U.S.C. § 1962(d).

        184.    Defendants and their affiliates committed and caused to be committed a series of

overt acts in furtherance of the conspiracy and to affect the objects thereof, including but not

limited to the acts set forth in Count I.

        185.    As a direct and proximate result of the overt acts and predicate acts of Defendants

in furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. § 1962(c),

Plaintiff and the Class have been injured in their business and property in an amount to be

determined at trial. Such injuries include, but are not limited to, fraudulently inflated charges

with respect to force-placed insurance, as a direct, proximate and foreseeable result of the

scheme alleged herein.

        186.    Under the provisions of 18 U. S.C. § 1964(c), Defendants are jointly and severally

liable to Plaintiff and the Class for three times the damages sustained, plus the costs of bringing

this suit, including reasonable attorneys’ fees.

        187.    Standard Mortgage and SM Insurance are directly liable for their own RICO

conspiracy violations, as alleged above. Standard Mortgage and SM Insurance are also liable for

the RICO conspiracy violations of each other as well as for the RICO conspiracy violations of

their agents. As alleged above, pursuant to the scheme, Standard Mortgage engaged SM

Insurance to provide Standard Mortgage with tracking services. At all times relevant herein,

when SM Insurance committed the RICO conspiracy violations alleged herein, SM Insurance

was acting within the course and scope of its authority as an authorized agent of Standard

Mortgage.




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                                                COUNT III

        BREACH OF IMPLIED COVENANT OF GOOD FAITH AND FAIR DEALING
                        (against STANDARD MORTGAGE)

       188.    Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       189.    A covenant of good faith and fair dealing is implied in every contract and imposes

upon each party a duty of good faith and fair dealing in its performance. Common law calls for

substantial compliance with the spirit, not just the letter, of a contract in its performance.

       190.    Where an agreement affords one party the power to make discretionary decision

without defined standards, the duty to act in good faith limits that party’s ability to act

capriciously to contravene the reasonable contractual expectations of the other party.

       191.    Plaintiff and the Class members’ mortgage contracts allow Standard Mortgage to

force place insurance coverage on the borrower in the event of a lapse in coverage, but do not

define standards for need to fix formatting selecting an insurer or procuring an insurance policy.

       192.    Standard Mortgage is afforded substantial discretion in force-placing insurance

coverage. It is permitted to unilaterally choose the company from which it purchases force-

placed insurance and negotiate any price for the coverage it procures. Standard Mortgage has an

obligation to exercise the discretion afforded it in good faith, and not capriciously or in bad faith.

Plaintiff does not seek to vary the express terms of the mortgage contract, but only to insure that

Standard Mortgage exercise its discretion in good faith.

       193.    Standard Mortgage breached the implied covenant of good faith and fair dealing

by, among other things:




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               (a) Manipulating the force-placed insurance market by selecting
               insurers (here, SM Insurance) with inflated premiums that include
               kickbacks to Standard Mortgage and issuing excess insurance
               coverage not necessary to cover Standard Mortgage’s risk, and by
               failing to seek                                competitive bids on
               the open market                                and instead
               contracting to create “back room” deals whereby insurance
               coverage is routinely purchased from SM Insurance without
               seeking a competitive price;

               (b) Exercising its discretion to choose an insurance policy in
               bad faith and in contravention of the parties’ reasonable
               expectations, by purposefully selecting high-priced force-placed
               insurance policies with artificially inflated premiums to
               maximize its own profits;

                (c) Assessing inflated, duplicative, and unnecessary amounts for
                force-placed insurance against Plaintiff and the Class and
                misrepresenting the reason for the cost of the policies;

                (d) Allowing Standard Mortgage and its affiliates to collect a
                percentage of the amounts charged to Plaintiff and the Class as a
                kickback and passing that percentage on to the borrower, thereby
                creating the incentive to seek the highest-priced premiums
                possible;

                (e) Charging Plaintiff and the Class for commissions when the
                insurance is prearranged and no commission is due;

                (f) Charging Plaintiff and the Class the cost of having the vendor
                perform its obligation of administering its mortgage portfolio,
                which is not properly chargeable to Plaintiff or the Class;

                (g) Force placing insurance coverage in excess of what is required
                by law or borrowers’ mortgage agreements;

                (h) Force placing insurance coverage in excess of that required to
                cover the lender’s interest in the property, or the balance owed on
                the loan; and

                (i) Charging Plaintiff and the Class an inflated premium due to the
                captive reinsurance arrangement.

       194.    As a direct, proximate, and legal result of the aforementioned breaches of the

covenant of good faith and fair dealing, Plaintiff and the Class have suffered damages.



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                                       COUNT IV
                        UNJUST ENRICHMENT/DISGORGEMENT
                              (against Standard Mortgage)

       195.    Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       196.    Standard Mortgage has been unjustly enriched as a result of the conduct described

in this Complaint and other inequitable conduct. The kickbacks, commissions and other

compensation that Standard Mortgage received in connection with force-placed insurance were

not legitimately earned, and came at the ultimate expense of its customers who had insurance

force-placed on them.

       197.    Standard Mortgage accepted and retained these payments under such

circumstances that it would be inequitable for Standard Mortgage to retain the benefit without

payment to Plaintiff and the other Class members.

       198.    Plaintiff and the Class members have conferred a substantial benefit upon

Standard Mortgage from the force-placed insurance premiums paid by Plaintiff and the Class

members.

       199.    As a result of Standard Mortgage’s unjust enrichment, Plaintiff and the Class

members have sustained damages in an amount to be determined at trial and seek a full

disgorgement and restitution of Standard Mortgage’s enrichment, benefits, and ill-gotten gains

acquired as a result of the unlawful or wrongful conduct alleged above and throughout the

Complaint.

                                           COUNT V

                                   UNJUST ENRICHMENT
                                    (against SM Insurance)

       200.    Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       201.    SM Insurance has been unjustly enriched as a result of the conduct described in



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this Complaint and other inequitable conduct.

       202.    SM Insurance gave Standard Mortgage, either directly or through an affiliate, a

kickback disguised as a legitimate commission, but Standard Mortgage did not provide any

services that entitled it to a commission.

       203.    SM Insurance came to an agreement with Standard Mortgage and its affiliates to

inflate premium prices charged to borrowers so that it could kick back to Standard Mortgage a

percentage of that money.

       204.    As consideration for this agreement, SM Insurance became the exclusive insurer

for Standard Mortgage borrowers who were force-placed.

       205.    In addition to the benefit of not competing in the insurance market for policies,

SM Insurance was able to charge more than the market price for an insurance policy. While SM

Insurance kicked back a portion of this amount to Standard Mortgage and/or its affiliates, SM

Insurance retained a substantial portion of these inflated premiums at the expense of Plaintiff and

the Class.

       206.    Plaintiff and the Class have thus conferred a substantial benefit upon SM

Insurance.

       207.    Under such circumstances, it would be inequitable for SM Insurance to retain

these benefits without payment to Plaintiff and the other Class members.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff, on behalf of herself and the Class, prays for relief as follows:

               A.      Determining that this action may proceed as a class action under Rule
                       23 of the Federal Rules of Civil Procedure;

               B.      Designating Plaintiff as the Class representative;

               C.      Designating Plaintiff’s counsel as counsel for the Class;



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             D.     Issuing proper notice to the Class at Defendants’ expense;

             E.     Declaring that Defendants’ conduct violated RICO;

             F.     Declaring that Standard Mortgage’s conduct as alleged herein violated
                    Standard Mortgage’s duty of good faith and fair dealing;

             G.     Declaring that Defendants’ conduct as alleged herein was inequitable
                    and that Defendants were unjustly enriched by their conduct;

             H.     Declaring that Defendants acted willfully in deliberate or reckless
                    disregard of applicable law and the rights of Plaintiff and the Class as
                    alleged herein;

             I.     Awarding appropriate equitable relief, including restitution and an
                    injunction requiring Defendants to reverse all unlawful, unfair, or
                    otherwise improper charges for insurance coverage, allowing
                    customers to close loans without first paying premiums for insurance
                    that were not necessary or required by law, prohibiting Defendants
                    from imposing unfair and unlawful insurance requirements on
                    borrowers, prohibiting Defendants from earning commissions or other
                    compensation for themselves or affiliated entities on force-placed
                    insurance policies, and requiring Defendants to cease and desist from
                    engaging in further unlawful conduct in the future;

             J.     Awarding actual damages, treble damages, punitive damages, and
                    interest;

             K.     Awarding reasonable attorneys’ fees and costs to the full extent
                    permitted by law; and

             L.     Granting other and further relief, in law or equity, as this Court may
                    deem appropriate and just.

Dated: September 3, 2015                  Respectfully submitted,

                                          JERNIGAN LAW FIRM


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                              DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff and the Class

demand a trial by jury.

                                           By:
                                           Susanne Weiner Jernigan




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